             Case 2:11-cr-00296-WBS Document 944 Filed 11/27/19 Page 1 of 2


1    ERIN J. RADEKIN
     Attorney at Law - SBN 214964
2
     1001 G Street, Suite 107
3    Sacramento, California 95814
     Telephone: (916) 446-3331
4    Facsimile: (916) 447-2988
5
     Attorney for Defendant
6    SANDRA HERMOSILLO
7

8
                           IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,           )               2:11-CR-00296 WBS
                                         )
13
                             Plaintiff,  )
14                                       )               REQUEST FOR ORDER AND
     v.                                  )               ORDER TO
15                                       )               EXONERATE BOND AND RELEASE
                                         )               PASSPORT
16
     SANDRA HERMOSILLO,                  )
17                                       )
                             Defendant.  )
18   ___________________________________ )
19

20          On July 19, 2011, the court ordered Ms. Hermosillo released on a $100,000 unsecured
21   bond and that she surrender her U.S. passport. ECF nos. 18, 35. On July 20, 2011, Ms.
22
     Hermosillo surrendered her passport. ECF no. 14.
23
            On September 30, 2019, Ms. Hermosillo was sentenced to time served and 24 months of
24

25   supervised release, with a condition of home detention. ECF nos. 918, 920. It is not a condition

26   of her supervised release that the court maintain custody of her passport. See ECF No. 918 at pp.
27
     3-4.


                                                        1
                Case 2:11-cr-00296-WBS Document 944 Filed 11/27/19 Page 2 of 2


 1             Accordingly, as Ms. Hermosillo is no longer on pre-trial release and is currently serving
 2
     her sentence, she respectfully requests that the court exonerate the bond posted to secure her
 3
     release and return her passport.
 4

 5
     Dated: November 25, 2019                               Respectfully Submitted,

 6

 7                                                          /s/ Erin J. Radekin
 8                                                          ERIN J. RADEKIN
                                                            Attorney for Defendant
 9                                                          SANDRA HERMOSILLO
10

11                                                  ORDER

12             Good cause appearing,
13
               IT IS HEREBY ORDERED that the bond posted to secure the release of the defendant,
14
     Sandra Hermosillo, be exonerated and that her U.S. passport surrendered to the court be returned
15
     to her.
16

17   Dated: November 27, 2019
18

19

20

21

22

23

24

25

26

27



                                                           2
